Case 3:21-mc-00285-MEM Document 1-8 Filed 04/05/21 Page 1 of 3

EXHIBIT 7
Case 3:21-mc-00285-MEM Document 1-8 Filed 04/05/21 Page 2 of 3

AMERICAN ARBITRATION ASSOCIATION
COMMERCIAL DIVISION

 

STRAIGHT A COMPANY, LP,

Claimant,

-against-

LA APPAREL, INC.,
Respondent.

Case No. 01-19-0004-6511

 

RESPONDENT’S POST-HEARING MEMORANDUM

Dated: November 23, 2020

Kaufman & Serota, P.C.
Stuart D. Serota, Esq.
Counsel for Respondent

5 International Drive — Suite 110
Rye Brook, NY 10753
212 732-6366

stuart@serotalaw.com

Schlacter & Associates
Jed R. Schlacter, Esq.
Counsel for Respondent

450 Seventh Avenue — Suite 1308
New York, NY 10123

212 695-2000
jed@schlacterassociates.com
Case 3:21-mc-00285-MEM Document 1-8 Filed 04/05/21 Page 3 of 3

APPENDIX B

CALCULATION OF PROFIT DISTRIBUTION
UNDER AMENDED FORMULA

FOR 2019

(From: Exhibit C-4, page 7 “Revised 2-13-2020”)

Gross Profit (on Net Sales of $17,201,791): $ 3,882,295

Less: royalties, shared expenses (but not commissions) ( 1,028,969)

Distribution before Profit Reserve and commissions: 2,853,326
Less 5% Profit Reserve (5% of Net Sales above) (860,089)
DISTRIBUTION POOL: 1,993,237
(a) to Straight A
Greater of:
6% of adjusted shipments (Net Sales): 1,032,107 !
OR
44.5% of Distribution Pool: 886,990

(b) balance of Distribution Pool to LA Apparel

after Straight A share of 1,032,107: 961,130 2

' Previously paid to Straight A = 1,032,107, so Balance due to Straight A = 0.00

? Previously paid to LA Apparel = 863,589, so Balance due to LA Apparel = 97,541.00
